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                                                                                                   E-FILED
                                                             Thursday, 03 December, 2015 03:07:07 PM
                                                                          Clerk, U.S. District Court, ILCD

                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS

 MICHELE VAN HISE, individually and on
 behalf of all others similarly situated,                     Case No.

                        Plaintiff,

        v.

                                                              Filed Electronically
 ADVANCE STORES COMPANY, INC. d/b/a
 ADVANCE AUTO PARTS,

                        Defendant.


         CLASS ACTION COMPLAINT FOR PERMANENT INJUNCTION
           REQUIRING THE REMOVAL OF ACCESS BARRIERS AND
     CHANGES TO CORPORATE POLICY PURSUANT TO 42 U.S.C. § 12188(a)(2)

       COMES NOW, Michele Van Hise, (“Plaintiff”) on behalf of herself and all others

similarly situated and alleges as follows:

                                        INTRODUCTION

       1.      Plaintiff brings this action individually and on behalf of all others similarly

situated against Advance Stores Company, Inc. d/b/a Advance Auto Parts (“Defendant”),

alleging violations of Title III of the Americans with Disabilities Act, 42 U.S.C. § 12101 et seq.,

(the “ADA”) and its implementing regulations, in connection with accessibility barriers in the

parking lots at various public accommodations owned, operated, controlled and/or leased by

Defendant (“Defendant’s facilities”).

       2.      Plaintiff is a paraplegic and is limited in the major life activity of walking, which

has caused her to be dependent upon a wheelchair for mobility.

       3.      Plaintiff has patronized Defendant’s facilities in the past, and intends to continue

to patronize Defendant’s facilities. However, unless Defendant is required to remove the access
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barriers described below, and required to change its policies so that access barriers do not

reoccur at Defendant’s facilities, Plaintiff will continue to be denied full access to those facilities

as described, and will be deterred from fully using Defendant’s facilities.

       4.        The ADA expressly contemplates injunctive relief aimed at modification of a

policy that Plaintiff seeks in this action. In relevant part, the ADA requires:

       [i]n the case of violations of . . . this title, injunctive relief shall include an order
       to alter facilities to make such facilities readily accessible to and usable by
       individuals with disabilities….Where appropriate, injunctive relief shall also
       include requiring the . . . modification of a policy. . .

42 U.S.C. § 12188(a)(2).

       5.        Consistent with 42 U.S.C. § 12188(a)(2) Plaintiff seeks a permanent injunction

requiring:

              a)   that Defendant remediate all parking and path of travel access barriers at its
                   facilities, consistent with the ADA;

              b)   that Defendant change its corporate policy so that the parking and path of travel
                   access barriers at its facilities do not reoccur; and,

              c)   that Plaintiff’s representatives shall monitor Defendant’s facilities to ensure that
                   the injunctive relief ordered pursuant to Paragraph 5(a) and 5(b) has been
                   implemented and will remain in place.

       6.        Plaintiff’s claims for permanent injunctive relief are asserted as class claims

pursuant to Fed. R. Civ. P. 23(b)(2). Fed. R. Civ. P. 23(b)(2) was specifically intended to be

utilized in civil rights cases where the Plaintiff seeks injunctive relief for his own benefit and the

benefit of a class of similarly situated individuals. To that end, the note to the 1996 amendment

to Rule 23 states:

       Subdivision(b)(2). This subdivision is intended to reach situations where a party
       has taken action or refused to take action with respect to a class, and final relief of
       an injunctive nature or a corresponding declaratory nature, settling the legality of
       the behavior with respect to the class as a whole, is appropriate . . . . Illustrative
       are various actions in the civil rights field where a party is charged with

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        discriminating unlawfully against a class, usually one whose members are
        incapable of specific enumeration.

        7.      While Plaintiff seeks class certification pursuant to Fed. R. Civ. P. 23(b)(2), class

certification is plainly not a prerequisite to her ability to obtain permanent injunctive relief, as is

expressly provided for by the plain language of the ADA. Instead, Plaintiff seeks the

certification of a class simply for purposes of judicial economy.

                  THE ADA AND ITS IMPLEMENTING REGULATIONS

        8.      On July 26, 1990, President George H.W. Bush signed into law the ADA, a

comprehensive civil rights law prohibiting discrimination on the basis of disability.

        9.      The ADA broadly protects the rights of individuals with disabilities in

employment, access to State and local government services, places of public accommodation,

transportation, and other important areas of American life.

        10.     Title III of the ADA prohibits discrimination in the activities of places of public

accommodation and requires places of public accommodation to comply with ADA standards

and to be readily accessible to, and independently usable by, individuals with disabilities. 42

U.S.C. § 12181-89.

        11.     Defendants are required to remove existing architectural barriers when such

removal is readily achievable for places of public accommodation that existed prior to January

26, 1992, 28 CFR 36.304(a) and 42 U.S.C. Section 12182(b)(2)(A)(iv); in the alternative, if there

has been an alteration to a defendant’s places of public accommodation since January 26, 1992,

the defendant is required to ensure to the maximum extent feasible, that the altered portions of

the facilities are readily accessible to and useable by individuals with disabilities, including

individuals who use wheelchairs, 28 CFR 36.402; and finally, if the defendant’s facilities were

designed and constructed for first occupancy subsequent to January 26, 1992, as defined in 28

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CFR 36.401, then the defendant’s facilities must be readily accessible to and useable by

individuals with disabilities as defined by the ADA.

       12.       Defendant owns, operates, controls and/or leases places of public accommodation.

       13.       Defendant’s facilities are not fully accessible to, and independently usable by

individuals who use wheelchairs.

       14.       While Defendant has centralized management policies regarding ADA

compliance, its ADA compliance policies are inadequate in both their conception and

implementation, and Defendant’s facilities continue to be inaccessible to, and not independently

usable by, individuals who use wheelchairs.

       15.       Even if remediated, the access barriers at Defendant’s facilities will reoccur

absent a change in Defendant’s corporate policy.

                                 JURISDICTION AND VENUE

       16.       This Court has federal question jurisdiction pursuant to 28 U.S.C. §1331 and 42

U.S.C. § 12188.

       17.       Plaintiff’s claims asserted herein arose in this judicial district.

       18.       Venue in this judicial district is proper under 28 U.S.C. §1391(b)(2) in that this is

the judicial district in which a substantial part of the events and/or omissions at issue occurred.

                                               PARTIES

       19.       Plaintiff, Michele Van Hise, is and, at all times relevant hereto, was a resident of

Charleston, Coles County, Illinois. As described above, as a result of her disability, Plaintiff

relies upon a wheelchair for mobility. She is therefore a member of a protected class under the

ADA, 42 U.S.C. § 12102(2) and the regulations implementing the ADA set forth at 28 CFR §§

36.101 et seq.



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         20.     Defendant Advance Stores Company, Inc. d/b/a Advance Auto Parts is a

Delaware corporation with a principal place of business at 5008 Airport Road, Roanoke, VA

24012.

         21.     Defendant is a public accommodation pursuant to 42 U.S.C. §12181(7).

                                      VIOLATIONS AT ISSUE

         22.     Plaintiff has visited Defendant’s facility located at 440 W Lincoln Avenue,

Charleston, Illinois (the “Subject Property”), where she experienced unnecessary difficulty and

risk due to excessive slopes in purportedly accessible parking spaces and access aisles, and curb

ramps located on the route to Defendant’s facility.

         23.     On Plaintiff’s behalf, investigators examined multiple locations owned and/or

operated by Defendant, and found the following violations, which are illustrative of the fact that

Defendant’s ADA compliance policies are inadequate in both their conception and

implementation:

             a)   303 Franklin Road, Meridian, ID

                    i.     The surfaces of one or more purportedly accessible parking spaces had
                           slopes exceeding 2.1%;

                   ii.     The surfaces of one or more access aisles had slopes exceeding 2.1%; and

                  iii.     No spaces were designated as “van accessible” at one or more groups of
                           purportedly accessible parking spaces.

             b)   911 3rd Street South, Nampa, ID

                    i.     The surfaces of one or more purportedly accessible parking spaces had
                           slopes exceeding 2.1%;

                   ii.     The surfaces of one or more access aisles had slopes exceeding 2.1%; and

                  iii.     No spaces were designated as “van accessible” at one or more groups of
                           purportedly accessible parking spaces.

             c)   815 S Main Street, Englewood, OH

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        i.     The surfaces of one or more purportedly accessible parking spaces had
               slopes exceeding 2.1%;

       ii.     The surfaces of one or more access aisles had slopes exceeding 2.1%;

      iii.     A curb ramp located on the route to the building entrance had a running
               slope exceeding 8.3%;

      iv.      One or more purportedly accessible spaces were not marked with required
               signs;

       v.      No spaces were designated as “van accessible” at one or more groups of
               purportedly accessible parking spaces; and

      vi.      No access aisle was provided adjacent to one or more purportedly
               accessible spaces.

  d)   1246 Kaufman Avenue, Fairborn, OH

        i.     The surfaces of one or more purportedly accessible parking spaces had
               slopes exceeding 2.1%;

       ii.     The surfaces of one or more access aisles had slopes exceeding 2.1%; and

      iii.     No spaces were designated as “van accessible” at one or more groups of
               purportedly accessible parking spaces.

  e)   5430 Springboro Pike, Dayton, OH

        i.     The surfaces of one or more purportedly accessible parking spaces had
               slopes exceeding 2.1%;

       ii.     A curb ramp projected into an access aisle; and

      iii.     One or more signs designating spaces as “accessible” were mounted less
               than 60 inches above the finished surface or the parking area.

  f)   8107 Springboro Pike, Miamisburg, OH

        i.     The surfaces of one or more purportedly accessible parking spaces had
               slopes exceeding 2.1%;

       ii.     The surfaces of one or more access aisles had slopes exceeding 2.1%;

      iii.     The landing at the top of the curb ramp had a slope exceeding 2.1%;

      iv.      No spaces were designated as “van accessible” at one or more groups of
               purportedly accessible parking spaces; and


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       v.      One or more signs designating spaces as “accessible” were mounted less
               than 60 inches above the finished surface or the parking area.

  g)   2636 S Smithville Road, Dayton, OH

        i.     No spaces were designated as “van accessible” at one or more groups of
               purportedly accessible parking spaces; and

       ii.     One or more signs designating spaces as “accessible” were mounted less
               than 60 inches above the finished surface or the parking area.

  h)   434 Woodman Drive, Dayton, OH

        i.     The surfaces of one or more purportedly accessible parking spaces had
               slopes exceeding 2.1%; and

       ii.     No spaces were designated as “van accessible” at one or more groups of
               purportedly accessible parking spaces.

  i)   805 West Marketview Drive, Champaign, IL

        i.     The surfaces of one or more purportedly accessible parking spaces had
               slopes exceeding 2.1%;

       ii.     The surfaces of one or more access aisles had slopes exceeding 2.1%;

      iii.     A portion of the route to the store entrance had a cross slope exceeding
               2.1%;

      iv.      No spaces were designated as “van accessible” at one or more groups of
               purportedly accessible parking spaces; and

       v.      One or more signs designating spaces as “accessible” were mounted less
               than 60 inches above the finished surface or the parking area.

  j)   403 North Mattis Avenue, Champaign, IL

        i.     The surfaces of one or more purportedly accessible parking spaces had
               slopes exceeding 2.1%;

       ii.     The surfaces of one or more access aisles had slopes exceeding 2.1%;

      iii.     No spaces were designated as “van accessible” at one or more groups of
               purportedly accessible parking spaces; and

      iv.      One or more signs designating spaces as “accessible” were mounted less
               than 60 inches above the finished surface or the parking area.


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  k)   440 W Lincoln Avenue, Charleston, IL

        i.     The surfaces of one or more purportedly accessible parking spaces had
               slopes exceeding 2.1%;

       ii.     The surfaces of one or more access aisles had slopes exceeding 2.1%;

      iii.     A curb ramp located on the route to the building entrance had a running
               slope exceeding 8.3%;

      iv.      A curb ramp along the route to the building entrance had a flare with a
               slope exceeding 10.0%; and

       v.      No spaces were designated as “van accessible” at one or more groups of
               purportedly accessible parking spaces.

  l)   924 Carlyle Avenue, Belleville, IL

        i.     The surfaces of one or more purportedly accessible parking spaces had
               slopes exceeding 2.1%; and

       ii.     No spaces were designated as “van accessible” at one or more groups of
               purportedly accessible parking spaces.

  m)   525 Lincoln Highway, Fairview Heights, IL

        i.     The surfaces of one or more purportedly accessible parking spaces had
               slopes exceeding 2.1%;

       ii.     The surfaces of one or more access aisles had slopes exceeding 2.1%; and

      iii.     No spaces were designated as “van accessible” at one or more groups of
               purportedly accessible parking spaces.

  n)   1604 Camp Jackson Road, Cahokia, IL

        i.     No spaces designated as accessible.

  o)   3861 Union Road, Buffalo, NY

        i.     The surfaces of one or more purportedly accessible parking spaces had
               slopes exceeding 2.1%;

       ii.     The surfaces of one or more access aisles had slopes exceeding 2.1%; and

      iii.     No spaces were designated as “van accessible.”


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  p)   942 McKinley Parkway, Buffalo, NY

        i.     No spaces marked as accessible;

       ii.     A curb ramp located on the route to the building entrance had a running
               slope exceeding 8.3%; and

      iii.     A curb ramp along the route to the building entrance had a flare with a
               slope exceeding 10.0%.

  q)   1366 Abbott Road, Buffalo, NY

        i.     The surfaces of one or more purportedly accessible parking spaces had
               slopes exceeding 2.1%; and

       ii.     No spaces were designated as “van accessible.”

  r)   1000 Fairmont Road, Morgantown, WV

        i.     One or more purportedly accessible spaces were not marked with required
               signs; and

       ii.     No spaces were designated as “van accessible.”

  s)   830 Monongahela Boulevard, Morgantown, WV

        i.     The surfaces of one or more access aisles had slopes exceeding 2.1%;

       ii.     One or more purportedly accessible spaces were not marked with required
               signs;

      iii.     No spaces were designated as “van accessible;” and

      iv.      No access aisle was provided adjacent to one or more purportedly
               accessible spaces.

  t)   518 South Avenue, Tallmadge, OH

        i.     The surfaces of one or more purportedly accessible parking spaces had
               slopes exceeding 2.1%;

       ii.     The surfaces of one or more access aisles had slopes exceeding 2.1%; and

      iii.     A curb ramp located on the route to the building entrance had a running
               slope exceeding 8.3%.



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  u)   1892 W Market Street, Akron, OH

        i.     The surfaces of one or more purportedly accessible parking spaces had
               slopes exceeding 2.1%; and

       ii.     Signs designating spaces as “accessible” were mounted less than 60 inches
               above the finished surface or the parking area.

  v)   2249 State Road, Cuyahoga Falls, OH

        i.     A portion of the route to the store entrance had a running slope exceeding
               5.0%; and

       ii.     A curb ramp along the route to the entrance had a flare with a slope
               exceeding 10.0%.

  w)   1308 Vernon Odom Boulevard, Akron, OH

        i.     The surfaces of one or more purportedly accessible parking spaces had
               slopes exceeding 2.1%; and

       ii.     No spaces were designated as “van accessible.”

  x)   1281 S Arlington Street, Akron, OH

        i.     The surfaces of one or more purportedly accessible parking spaces had
               slopes exceeding 2.1%;

       ii.     A portion of the route to the store entrance had a running slope exceeding
               5.0%;

      iii.     One or more purportedly accessible spaces were not marked with required
               signs; and

      iv.      No spaces were designated as “van accessible.”

  y)   17629 Virginia Avenue, Hagerstown, MD

        i.     The surfaces of one or more purportedly accessible parking spaces had
               slopes exceeding 2.1%;

       ii.     A portion of the route to the store entrance had a running slope exceeding
               5.0%; and

      iii.     A curb ramp located on the route to the building entrance had a running
               slope exceeding 8.3%.

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           z)   325 E Washington Street, Hagerstown, MD

                  i.     The surfaces of one or more purportedly accessible parking spaces had
                         slopes exceeding 2.1%.

           aa)  1227 Blackwood Clementon Road, Clementon, NJ

                  i.     The surfaces of one or more purportedly accessible parking spaces had
                         slopes exceeding 2.1%; and

                 ii.     The surfaces of one or more access aisles had slopes exceeding 2.1%.

           bb)  2290 Mount Ephraim Avenue, Woodlynne, NJ

                  i.     The surfaces of one or more purportedly accessible parking spaces had
                         slopes exceeding 2.1%.

           cc)  1025 W Main Street, Bridgeport, WV

                  i.     The surfaces of one or more purportedly accessible parking spaces had
                         slopes exceeding 2.1%;

                 ii.     The surfaces of one or more access aisles had slopes exceeding 2.1%; and

                iii.     No spaces were designated as “van accessible.”

       24.     As a result of Defendant’s non-compliance with the ADA, Plaintiff’s ability to

access and safely use Defendant’s facilities has been significantly impeded.

       25.     Though Defendant has centralized policies regarding ADA compliance,

Defendant’s ADA compliance policies are inadequate in both their conception and

implementation and are not reasonably calculated to make their facilities fully accessible to, and

independently usable by individuals with mobility disabilities.

       26.     Absent a change in Defendant’s corporate policies, access barriers are likely to

reoccur in Defendant’s facilities even after they have been remediated.




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       27.     As an individual with a mobility disability who is dependent upon a wheelchair,

Plaintiff has a keen interest in whether public accommodations have architectural barriers that

impede full accessibility to those accommodations by individuals with mobility impairments.

       28.     Plaintiff has visited the Subject Property periodically with her husband, who is a

mechanic, and intends to return to the Subject Property.

       29.     Furthermore, Plaintiff intends to return to Defendant’s facilities to ascertain

whether those facilities remain in violation of the ADA. However, so long as Defendant’s

inadequate ADA compliance policy is in place, causing numerous architectural barriers at

Defendant’s facilities continue to exist, Plaintiff will be deterred from returning to and fully and

safely accessing Defendant’s facilities.

       30.     Without injunctive relief, Plaintiff will continue to be unable to fully and safely

access Defendant’s facilities in violation of her rights under the ADA.

                                    CLASS ALLEGATIONS

       31.     Plaintiff brings this class action on behalf of herself and all others similarly

situated pursuant to Rules 23(a) and 23(b)(2) of the Federal Rules of Civil Procedure, on behalf

of all wheelchair users who have attempted, or will attempt, to utilize the parking facilities at

locations for which Defendant owns and/or controls the parking facilities.

       32.     The class described above is so numerous that joinder of all individual members

in one action would be impracticable. The disposition of the individual claims of the respective

class members through this class action will benefit both the parties and this Court, and will

facilitate judicial economy.




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         33.     Typicality: Plaintiff’s claims are typical of the claims of the members of the

class. The claims of the Plaintiff and members of the class are based on the same legal theories

and arise from the same unlawful conduct.

         34.     Common Questions of Fact and Law: There is a well-defined community of

interest and common questions of fact and law affecting members of the class in that they all

have been and/or are being denied their civil rights to full and equal access to, and use and

enjoyment of, Defendant’s facilities and/or services due to Defendant’s failure to make its

facilities fully accessible and independently usable as above described.

         35.     Adequacy of Representation: Plaintiff is an adequate representative of the class

because her interests do not conflict with the interests of the members of the class. Plaintiff will

fairly, adequately, and vigorously represent and protect the interests of the members of the class

and have no interests antagonistic to the members of the class. Plaintiff has retained counsel

who are competent and experienced in the prosecution of class action litigation, generally, and

who possess specific expertise in the context of class litigation under the ADA.

         36.     Class certification is appropriate pursuant to Fed. R. Civ. P. 23(b)(2) because

Defendant has acted or refused to act on grounds generally applicable to the Class, making

appropriate both declaratory and injunctive relief with respect to Plaintiff and the Class as a

whole.

                                   SUBSTANTIVE VIOLATION

         37.     The allegations contained in the previous paragraphs are incorporated by

reference.

         38.     Defendant’s facilities were altered, designed, or constructed, after the effective

date of the ADA.



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       39.     Defendant’s facilities were required to be altered, designed, and constructed so

that they are readily accessible to and usable by individuals who use wheelchairs. 42 U.S.C.§

12183(a)(1).

       40.     The architectural barriers described above demonstrate that Defendant’s facilities

were not altered, designed, or constructed in a manner that causes them to be readily accessible

to and usable by individuals who use wheelchairs.

       41.     The architectural barriers described above demonstrate that Defendant has failed

to remove barriers, as required by 42 U.S.C. Section 12182(b)(2)(A)(iv).

       42.     Defendant’s facilities are required to comply with the Department of Justice’s

2010 Standards for Accessible Design, or in some cases the 1991 Standards 42 U.S.C. §

12183(a)(1); 28 C.F.R. § 36.406; 28 C.F.R., pt. 36, app. A.

       43.     Defendant is required to provide individuals who use wheelchairs full and equal

enjoyment of its facilities. 42 U.S.C. § 12182(a).

       44.     Defendant has failed, and continues to fail, to provide individuals who use

wheelchairs with full and equal enjoyment of its facilities.

       45.     Defendant has discriminated against Plaintiff and the Class in that it has failed to

make its facilities fully accessible to, and independently usable by, individuals who use

wheelchairs in violation of 42 U.S.C. § 12182(a) as described above.

       46.     Defendant’s conduct is ongoing, and Plaintiff has been harmed by Defendant’s

conduct.

       47.     Given that Defendant has not complied with the ADA’s requirements to make

their facilities fully accessible to, and independently usable by, individuals who use wheelchairs,




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Plaintiff invokes her statutory rights to declaratory and injunctive relief, as well as costs and

attorneys’ fees.

                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of herself and the members of the class, prays for:

       a.      A declaratory judgment that Defendant is in violation of the specific requirements
               of Title III of the ADA described above, and the relevant implementing
               regulations of the ADA, in that Defendant’s facilities, as described above, are not
               fully accessible to, and independently usable by, individuals who use wheelchairs;

       b.      A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
               36.504 (a) which directs Defendant to: (i) take all steps necessary to remove the
               architectural barriers described above and to bring its facilities into full
               compliance with the requirements set forth in the ADA, and its implementing
               regulations, so that its facilities are fully accessible to, and independently usable
               by, individuals who use wheelchairs; (ii) that Defendant change its corporate
               policy to prevent the reoccurrence of access barriers post-remediation; and, (iii)
               that Plaintiffs shall monitor Defendant’s facilities to ensure that the injunctive
               relief ordered above remains in place.

       c.      An Order certifying the class proposed by Plaintiff, and naming Plaintiff as class
               representative and appointing her counsel as class counsel;

       d.      Payment of costs of suit;

       e.      Payment of reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28 CFR
               § 36.505; and,

       f.      The provision of whatever other relief the Court deems just, equitable and
               appropriate.


Dated: December 3, 2015                                Respectfully submitted,

                                                       /s/ Matthew H. Armstrong
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                                                               and


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